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                                                                                                     FILED




                UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF WYOMING                                                     3:23 pm, 8/27/21
                                                                                         U.S. Magistrate Judge

          UNITED STATES OF AMERICA
                                                                          5:21-PO-00511-MLC-1
                         vs                            Case Number(s):

                                                                   Defendant's Attorney(s)
                 Madeline S Casey                                         Waived

                              JUDGMENT IN A CRIMINAL CASE

THE DEFENDANT pled guilty to violation E1059115.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following
offense(s):
                                                                   Date Offense
                                                                                   Violation Number
    Title and Section              Nature of Offense                Concluded
                               Foot travel in all thermal
                              areas and w/in Yellowstone
        36 CFR 7.13(j)                                             07/22/2021         E1059115
                               Canyon confined to trails-
                                   Thermal Trespass
The defendant is sentenced as provided in pages 2 through 6 of this Judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.
Violation E1059753 is dismissed with prejudice on the motion of the United States.
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of residence or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.

Defendant's USM No: N/A                                     08/18/2021
                                                            Date of Imposition of Sentence


                                                            Mark L. Carman
                                                            United States Magistrate Judge

                                                            Date




WY 56                                                                                    Rev. 11/05/2020
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                                     IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 7 days, to serve by 01/31/2022.

The defendant shall surrender to the United States Marshal for this district as notified by the
Marshal.



                                           RETURN

        I have executed this Judgment as follows:
_____________________________________________________________________________
_____________________________________________________________________________
_____________________________________________________________________________
_____________________________________________________________________________


        Defendant delivered on ________________ to _______________________ at
__________________________________________ , with a certified copy of this Judgment.


                                                      ______________________________
                                                      United States Marshal


                                                By: ______________________________
                                                    Deputy Marshal




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                            UNSUPERVISED PROBATION

The defendant is hereby placed on unsupervised probation for a term of two years.

While on probation, the defendant shall not commit another federal, state, tribal, or local crime.

While on probation, the defendant shall not illegally possess a controlled substance.
Revocation of probation is mandatory for possession of a controlled substance.

The defendant shall make special assessment, processing fee, community service and fine
payments as ordered by the Court and is required to notify the Court of any material change in
the defendant's economic circumstances that might affect the defendant's ability to meet these
monetary obligations.

The defendant is banned from entering the exterior boundaries of Yellowstone National Park
for a period of two years.

The defendant shall contact the United States Marshals Service within 30 days of sentencing to
choose a surrender date. Mammoth Office: 406-223-2004. Cheyenne Office: 307-829-3710.
The defendant shall serve 7 days jail by 01/31/2022.




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                                 FINANCIAL PENALTIES
The defendant shall pay the following total financial penalties in accordance with the schedule of
payments set out below.
  Citation     Assessment Processing     Restitution      Community         Fine       Total Amount
  Number                     Fee                            Service                         Due
                                                           Payment
 E1059115         $10.00    $30.00                         $1,000.00      $1,000.00       $2,040.00
  NOTES:

   Totals:        $10.00    $30.00                         $1,000.00      $1,000.00      $2,040.00



       FINE, RESTITUTION, and COMMUNITY SERVICE PAYMENT
The fine and/or restitution includes any costs of incarceration and/or supervision. The fine,
which is due immediately, is inclusive of all penalties and interest, if applicable. Restitution, if
applicable, is for response, assessment, restoration and monitoring activities for injuries to park
system resources.

The defendant shall pay interest on any fine and/or restitution of more than Two Thousand Five
Hundred Dollars ($2,500.00), unless the fine and/or restitution is paid in full before the fifteenth
day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the below payment
options are subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).




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               RESTITUTION/COMMUNITY SERVICE PAYMENT
The defendant shall make restitution to the following persons in the following amounts:
Name of Payee                                            Amount of           Priority Order of
                                                         Restitution             Payment




Yellowstone Park Foundation
Geological Protection Fund
Mailed to U.S. Attorney’s Office
                                                          $1,000.00
Attn: Financial Litigation Unit
P.O. Box 668
Cheyenne, WY 82003
Each restitution and community service payment shall be divided proportionately among the
payees named unless specified in the priority payment column above.




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                              SCHEDULE OF PAYMENTS
Payments shall be applied in the following order: (1) assessment; (2) restitution; (3) fine
principal; (4) cost of prosecution; (5) interest; (6) penalties.

The total fine and other monetary penalties shall be due in full immediately.


                      MONETARY OBLIGATIONS / FORFEIT PROPERTY


 $1,000.00 community service payment due in full not later than 01/31/2022, payable to
Yellowstone Park Foundation Geological Protection Fund, Mailed to U.S. Attorney’s Office,
Attn: Financial Litigation Unit, P.O. Box 668, Cheyenne, WY 82003, , and shall reference the
defendant’s violation number E1059115, 5:21-PO-00511-MLC-1.

$1,040.00 due in full not later than 12/31/2022, payable to the Central Violations Bureau, P.O.
Box 780549, San Antonio, TX 78278. Payment(s) can also be made at www.cvb.uscourts.gov
or by calling (800) 827-2982, and shall reference the defendant’s violation number E1059115,
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